                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

  ZAKAI ZEIGLER,                                    )
                                                    )
                 Plaintiff,                         )
                                                    )
  v.                                                )          3:25-cv-226-KAC-JEM
                                                    )
  NATIONAL COLLEGIATE ATHLETIC                      )
  ASSOCIATION,                                      )
                                                    )
                 Defendant.                         )

                                  MEMORANDUM OPINION

        This case is before the Court on Plaintiff Zakai Zeigler’s “Motion for Preliminary

 Injunction” [Doc. 3]. For the below reasons, the Court denies the Motion.

 I.     Background And Findings Of Fact

        Plaintiff “enrolled at the University of Tennessee in 2021 and played four consecutive

 seasons of NCAA Division I men’s basketball” [Doc. 3-1 at 2-3 (Declaration of Zakai Zeigler

 (“Zeigler Decl.”) ¶ 4)]. He “completed [his] undergraduate degree in four years” [Id. at 4 (Zeigler

 Decl. ¶ 12)]. Plaintiff intends to enroll in a graduate degree program “beginning in the fall of

 2025” and desires to “compete in one final season of college basketball” while

 studying [Id. (Zeigler Decl. ¶ 14)]. Plaintiff “received substantial financial compensation through”

 name, image, and likeness (NIL) “agreements in [his] college basketball career” [Id. at 5 (Zeigler

 Decl. ¶ 17)]. And he believes a fifth year of competition would further permit him to “receive

 significant [NIL] compensation” [Id. (Zeigler Decl. ¶ 16)]. The record supports that

 belief [See Doc. 3-3 at 7 (Declaration of James Clawson (“Clawson Decl.”) ¶ 21)].

        NCAA Bylaw 12.8, known as the Four-Seasons Rule, “limits all student-athletes to four

 seasons of competition within a five-year eligibility period, regardless of whether they have




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 completed their undergraduate education or remain academically eligible” [Doc. 3-1 at 2 (Zeigler

 Decl. ¶ 2)]. The “annual number of NCAA Division I basketball roster slots” for each team are

 limited and “fixed” [See Doc. 27-3 at 15 (Declaration of Matthew Backus) (“Backus Decl.”) ¶ 35)].

 Because Plaintiff has already played four seasons of Division I basketball at the University of

 Tennessee, the Four-Seasons Rule would bar him from competing in the 2025-2026

 season [See Doc. 3-1 at 4 (Zeigler Decl. ¶ 12)].

        On May 20, 2025, Plaintiff filed an unverified complaint1 against Defendant National

 Collegiate Athletic Association [See Doc. 1]. Plaintiff alleges that the Four-Seasons Rule violates

 the (1) Sherman Act, 15 U.S.C. § 1; and (2) Tennessee Trade Practices Act, Tenn. Code Ann. § 47-

 25-101 (TTPA), [Id. ¶¶ 1, 94-117]. Under Plaintiff’s theory, NCAA’s Four-Seasons Rule prevents

 him from playing a fifth year of Division I basketball, and without a spot on a Division I roster,

 Plaintiff loses significant NIL compensation [See id. ¶ 1]. He and those like him are replaced by

 less “experienced” and lower paid players [See id. ¶ 4]. Thus, the theory goes, the Four-Seasons

 Rule is an unlawful restraint on trade [See id.].

        Plaintiff filed the instant “Motion for Preliminary Injunction” [Doc. 3] too, asking the

 Court to preliminarily enjoin enforcement of the Four-Seasons Rule [Doc. 3 at 1-2].2

 Following Defendant’s appearance and fulsome expedited briefing, the Court held a hearing on

 the Motion [See Docs. 4, 23, 27, 30].




 1
   A party must present evidence “that goes beyond the unverified allegations of the pleadings” to
 “support or oppose a motion for a preliminary injunction.” See Charles Wright and Arthur Miller,
 Fed. Prac. & Proc. § 2949 (3d ed. 2025).
 2
   “[F]or the injunctive relief sought” by Plaintiff to “be effective,” he also asks the Court to enjoin
 Defendant from enforcing Bylaw 12.11.4.2 on behalf of any NCAA member institution that would
 allow him to play [Id. at 2]. Because Plaintiff has not shown an entitlement to injunctive relief, it
 is not necessary, or appropriate, to enjoin Bylaw 12.11.4.2 to provide full relief to Plaintiff.

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        That hearing was productive. Consistent with the allegations in his Complaint, Plaintiff

 confirmed that the relevant market for analysis is “the market for student-athlete services and NIL

 compensation in NCAA Division I basketball” [See Docs. 34; 1 ¶ 97]. But Dr. Joel G. Maxcy,

 Plaintiff’s proposed economic expert, did not analyze that market [See Doc. 3-2 at 4 (Declaration

 of Joel G. Maxcy (“Maxcy Decl.”) ¶ 14)]. Instead, Dr. Maxcy identified and analyzed “the labor

 market for athlete services in NCAA Division I men’s basketball” [Id.]. He did not specifically

 study NIL compensation—the other side of the economic equation—while conducting his

 analysis [See id.]. Plaintiff conceded as much at the hearing [See Doc. 34].

        Further, Plaintiff acknowledged that “the current state of the law” was that independent

 third-party NIL collectives and individual brands control NIL compensation to NCAA Division I

 basketball players—which players get paid and how much they get paid—not Defendant [Id.;

 accord Doc. 27-3 at 18 (Backus Decl. ¶ 41) (“The NCAA does not determine compensation for

 individual athletes.”)]. Plaintiff admitted that NIL collectives could even provide former players,

 like himself, NIL compensation [See Doc. 34].         Plaintiff speculated that NCAA member

 institutions “are beginning to” pay athletes directly,3 but he admitted that evidence of any such

 payments and analysis of any such payments’ effects on the market are not in the record [Id.].

        After    the    hearing,   Plaintiff   supplemented      the   record    with    additional

 declarations [See Doc. 36]. And the Parties provided supplemental briefing [See Docs. 37, 38, 39].




 3
   The Court takes judicial notice that the Northern District of California approved the House
 settlement on June 6 after the hearing [See 4:20-cv-3919, Doc. 979 (N.D. Cal. June 6, 2025)].
 See Fed. R. Evid. 201. But Plaintiff does not base his preliminary injunction request on the
 economics that may come to pass if NCAA member institutions implement the House settlement.
 So, approval of the House settlement does not change this Court’s analysis.

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 II.    Analysis

        A preliminary injunction “is an extraordinary remedy never awarded as of right.”

 Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008) (citation omitted). A plaintiff seeking

 a preliminary injunction must meet an exacting standard. The Court considers “(1) whether the

 movant has a strong likelihood of success on the merits; (2) whether the movant would suffer

 irreparable injury without the injunction; (3) whether issuance of the injunction would cause

 substantial harm to others; and (4) whether the public interest would be served by issuance of the

 injunction.” See Union Home Mortg. Corp. v. Cromer, 31 F.4th 356, 365-66 (6th Cir.

 2022) (quotation omitted) (en banc) (per curiam). “While no single factor necessarily is

 dispositive, the first—the likelihood of success—in many instances will be the determinative

 factor.” Dahl v. Bd. of Tr., 15 F.4th 728, 730 (6th Cir. 2021) (citations omitted).

        A plaintiff is “not required to prove his case in full” at the preliminary injunction stage.

 See Certified Restoration Dry Cleaning Network, LLC, v. Tenke Corp., 511 F.3d 535, 543 (6th Cir.

 2007) (quoting Univ. of Texas v. Camenisch, 451 U.S. 390, 395 (1981)). Even so, Plaintiff must

 make a “clear showing” that he is likely to succeed on the merits of his claims.

 See Starbucks Corp. v. McKinney, 602 U.S. 339, 345 (2024); see also Murthy v. Missouri,

 603 U.S. 43, 58 (2024) (quotation omitted). Plaintiff has not done so.

        A. Plaintiff Fails To Demonstrate A Likelihood Of Success On The Merits Of His
           Sherman Act Claim.

            i.   The Four-Seasons Rule Is Commercial.

        The Sherman Act provides that “[e]very contract, combination in the form of trust or

 otherwise, or conspiracy, in restraint of trade or commerce among the several States or with foreign

 nations,” is illegal. 15 U.S.C. § 1. Despite the text of the Act, the Supreme Court has long held

 that the Act prohibits only “unreasonable” restraints on trade. See Standard Oil Co. v. United


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 States, 221 U.S. 1, 51 (1911); see also United States v. Columbia Steel Co., 334 U.S. 495, 522

 n.19 (1948) (citation omitted). To fall within the ambit of the Act, a challenged rule must be

 “commercial in nature.” See Bassett v. Nat’l Collegiate Athletic Ass’n, 528 F.3d 426,

 432 (2008) (citing Worldwide Basketball & Sports Tours, Inc. v. Nat’l Collegiate Athletic Ass’n,

 388 F.3d 955, 958 (6th Cir. 2004)). The United States Court of Appeals for the Sixth Circuit has

 described the requirement broadly. “There must be a commercial activity implicated.” Id. at 433.

 The Court considers “whether the rule itself is commercial, not whether the entity promulgating

 the rule is commercial.” See id. (quoting Worldwide Basketball, 388 F.3d at 959).

 The Sixth Circuit “has not yet addressed” whether the Four-Seasons Rule is commercial, but

 precedent suggests that the Court ought to consider the Rule itself and any “commercial impact”

 of the Rule. See Worldwide Basketball, 388 F.3d at 958-59.

        Here, the Four-Seasons Rule is “commercial” because it implicates “commercial activity,”

 see Bassett, 528 F.3d at 433, and has “some commercial impact,” see Worldwide Basketball,

 388 F.3d at 959. Post-National Collegiate Athletic Association v. Alston, Division I basketball

 players may receive compensation in exchange for their athletic services. See 594 U.S. 69,

 100 (2021). The record shows that the nature and amount of that compensation here depends, at

 least in part, on a relevant player’s participation in Division I basketball [See Docs. 3-3 at 3

 (Clawson Decl. ¶¶ 8-10); 27-3 at 17-18 (Backus Decl. ¶¶ 39-40); 36-3 at 2-3 (Supplemental

 Declaration of James Clawson ¶¶ 2-3)]. Thus, the Four-Seasons Rule, which places limits on

 participation in Division I basketball, at least implicates commercial activity and has some

 commercial impact. The Sherman Act therefore applies.

        Defendant resists that conclusion, relying on Bassett v. NCAA, 528 F.3d 426 (6th Cir.

 2008); but Defendant overreaches by overreading and selectively quoting [See Doc. 27 at 10-12].

 Bassett ultimately concerned a plaintiff’s failure to include in his complaint “any allegation [of]

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 the commercial nature of NCAA’s enforcement of the rules” at issue. See Bassett, 528 F.3d at 433.

 Bassett did not hold, as Defendant asserts, that “NCAA ‘eligibility rules . . . are all explicitly non-

 commercial’” [See Doc. 27 at 10 (quoting (selectively) Bassett, 528 F.3d at 433) (ellipsis in

 original)]. Instead, Bassett said: “[s]imilar to the eligibility rules in Smith [v. NCAA, 139 F.3d 180

 (3d Cir. 1998)], NCAA’s rules on recruiting student athletes, specifically those rules prohibiting

 improper inducements and academic fraud, are all explicitly non-commercial.” 528 F.3d at 433

 (emphasis added). Bassett merely compared the recruiting rules at issue to other particular

 “eligibility rules” that another court held were noncommercial. Bassett sweeps no broader.

            ii.   The Rule Of Reason Applies Here.

        But what test applies? Defendant initially argued that the Court could uphold the Four-

 Seasons Rule “upon a quick look” [See Doc. 27 at 9]. At the hearing, however, Defendant all but

 abandoned that argument [See Doc. 34]. This aligns with older precedent indicating that courts

 traditionally apply “the rule of reason to eligibility rules and frequently conclude[] that such rules

 do not violate antitrust law.” See Nat’l Hockey League Players’ Ass’n v. Plymouth Whalers

 Hockey Club, 325 F.3d 712, 719 (6th Cir. 2003) (“NHLPA I”) (citations omitted) (discussing Nat’l

 Collegiate Athletic Assoc. v. Bd. of Regents of Univ of Okla., 468 U.S. 85, 98 (1984)).

 That remains true today at least with respect to application of the Rule of Reason. Because more

 than a “quick look” is necessary to assess the market factors and impacts here, the Rule of Reason

 applies. See Alston, 594 U.S. at 90-91.

           iii.   Plaintiff Fails To Show A Likelihood Of Success At Step One Of The Rule Of
                  Reason.

        Under the Rule of Reason, a plaintiff bears “the initial burden to prove that the challenged

 restraint has a substantial anticompetitive effect that harms consumers in the relevant market.”

 See Ohio v. Am. Exp. Co., 585 U.S. 529, 541 (2018) (citations omitted). This is “no slight


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 burden.” Alston, 594 U.S. at 97. The Rule of Reason requires a court to conduct a “fact-specific

 assessment of market power and market structure to assess the restraint’s actual effect on

 competition.” Am. Exp. Co., 585 U.S. at 541 (cleaned up); see also Alston, 594 U.S. at 81.

        Here, Plaintiff has failed to present sufficient evidence that the Four-Seasons Rule produces

 substantial anticompetitive effects in the market for student-athlete services and NIL compensation

 in Division I basketball. In assessing the potential anticompetitive effects of the Four-Seasons

 Rule on the relevant market, Dr. Maxcy reached his conclusions by analyzing only “the labor

 market for athlete services in NCAA Division I men’s basketball” [See Doc. 3-2 at 5 (Maxcy Decl.

 ¶ 14)]. He analyzed the market “from Alston,” where the Supreme Court concluded that Defendant

 “enjoy[ed] monopsony power” over direct school-to-player benefits [See id. at 6 (Maxcy Decl.

 ¶ 16) (citing Alston, 594 U.S. at 90)]. But the current market realities are fundamentally different.

 As Alston confirmed, “[w]hether an antitrust violation exists necessarily depends on a careful

 analysis of market realities. If those market realities change, so may the legal analysis.” 594 U.S.

 at 93 (citations omitted).

        The market realities and legal analysis here are materially different. Unlike in Alston,

 Defendant currently does not control the NIL compensation that NCAA Division I basketball

 players receive [See Doc. 34]. “The NCAA does not determine compensation for individual

 athletes” [Doc. 27-3 at 18 (Backus Decl. ¶ 41)]. Thus, while the Four-Seasons Rule may control

 who is eligible to play Division I basketball, limiting the labor side of the market, Defendant does

 not control who receives NIL compensation, the wage side of the market [See id.]. More simply,

 Plaintiff has not shown that Defendant “enjoys the power to set [NIL] wages in the market for

 student-athletes’ labor” such that Defendant’s Four-Seasons Rule “produce[s] significant

 anticompetitive effects” under Plaintiff’s theory. See Alston, 594 U.S. at 97-98 (citation omitted);

 see also Nat’l Hockey League Players’ Ass’n v. Plymouth Whalers Hockey Club, 419 F.3d 462,

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 474-75 (6th Cir. 2005) (“NHLPA II”). Without more, Plaintiff has not shown that Defendant’s

 limit on the labor side of the market—replacing one Division I basketball player with another—

 produces substantial anticompetitive effects [See id. at 19-22 (Backus Decl. ¶¶ 42-47)

 (demonstrating that limiting labor—who can play—may increase wages—NIL compensation—

 and that increasing labor may actually decrease wages). And Plaintiff provided no other basis for

 the Court to conduct the required “fact-specific assessment of market power and market structure

 to assess” the Four-Seasons Rule’s “actual effect on competition” marketwide. See Am. Exp. Co.,

 585 U.S. at 541 (cleaned up).

        Plaintiff argues that NIL compensation is “inextricably intertwined” with the Four-Seasons

 Rule [See Doc. 34]. That may be true to the extent that third-party NIL collectives and individual

 brands make independent decisions to pay compensation (wages) only to those players who are

 playing Division I basketball. But that is not enough to show that Defendant is liable under the

 Sherman Act. The Sixth Circuit “has not articulated a standard for determining when an injury to

 competition can be said to have been caused by an alleged restraint on trade.” NHLPA II, 419 F.3d

 at 474. And there are no “cases addressing the issue of whether a defendant is subject to antitrust

 liability” for an action that merely results in “secondary” anticompetitive “effects.” Id. Thus, to

 the extent that there are secondary anticompetitive effects of the Four-Seasons Rule brought on by

 independent actors in the market, Plaintiff has presented no basis for holding Defendant liable.

 Plaintiff has therefore not made the requisite “clear showing” that he is likely to succeed on his

 Sherman Act claim. See, e.g., Starbucks Corp., 602 U.S. at 345.

        B. Plaintiff Fails To Demonstrate A Likelihood Of Success On The Merits Of His
           TTPA Claim.

        Plaintiff’s argument that he is likely to prevail on his TTA claim fails for at least two

 reasons. First, under the TTPA, courts must examine whether the alleged restraint in trade “tends


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 to” “work an undue or unreasonable restraint upon full and free competition.” Baird v. Smith,

 161 S.W. 492, 493 (Tenn. 1913). As the Parties agree, this inquiry “mirror[s]” Step One of the

 Rule of Reason [See Docs. 37 at 5 (citation omitted), 27 at 37 (citation omitted)]. Accord Medison

 Am., Inc. v. Preferred Med. Sys., LLC, 357 F. App’x 656, 662 (6th Cir. 2009) (quoting Freeman

 Indus., LLC v. Eastman Chem. Co., 172 S.W.3d 512, 523 (Tenn.2005)). As analyzed above,

 Plaintiff failed to make the required showing.

         Second, Plaintiff argues that Tennessee Senate Bill 536, codified in Tennessee Code

 Annotated § 49-7-2801, et seq., augmented Tennessee antitrust law and rendered all of

 Defendant’s eligibility rules illegal in Tennessee [See Doc. 37 at 6; see also Doc. 34]. Whatever

 the merits of that argument, Plaintiff would not be able to obtain injunctive relief under the statute.

 It “does not authorize, create, or afford any private cause of action, liability, or basis for injunctive

 or equitable relief.” Tenn. Code Ann. § 49-7-2803(b). Instead, the law leaves enforcement in the

 capable hands of Tennessee’s “attorney general and reporter.” Id. § 49-7-2803(a)(4). Plaintiff

 therefore may not obtain a preliminary injunction based on a novel interpretation of the law. So,

 he has not demonstrated that he is likely to succeed on the TTPA claim.

         C. Consideration Of The Other Preliminary Injunction Factors Does Not Warrant
            Relief.

         Further, Plaintiff has failed to show that the remaining preliminary injunction factors

 support an injunction. Plaintiff’s asserted harms, including loss of substantial NIL opportunities

 and access to the NIL market, are more monetary in nature, and a future money damages award

 might adequately redress them [See Docs. 4 at 35-36; 30 at 29-30; 34]. Additionally, given the

 fixed number of roster spots available for each Division I basketball team, an injunction would run

 the risk of harming (1) currently-enrolled Division I basketball players who have already

 committed to a member institution and (2) current high school seniors who might have their college


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recruitment disrupted [See Doc. 27-3 at 15 (Backus Decl. ¶ 35)]. And Plaintiff failed to produce

sufficient evidence showing that granting an injunction would serve the public interest.

III.     Conclusion

         This Court is a court of law, not policy. What the NCAA should do as a policy matter to

benefit student athletes is beyond the reach of the Sherman Act and TTPA and by extension, this

Court.    For the above reasons, the Court DENIES Plaintiff Zakai Zeigler’s “Motion for

Preliminary Injunction” [Doc. 3].

         SO ORDERED.

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